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                           IN THE UNITED ST ATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF PENNSYLVANIA

         JOHN DOE,                                          )
                                                            )
                                   Plaintiff,               )
                                                            )      Civil Action No. 2:17-cv-01574
         v.                                                 )
                                                            )      Judge Mark R. Hornak
         CARNEGIE MELLON UNIVERSITY,                        )
                                                            )
                                   Defendant.               )


                                                  ORDER


              AND NOW, on the 6th day of December, 2017, for the in-depth reasons stated on the

     record in open Court on the 5th day of December, 2017, Plaintiffs Motion for Temporary

     Restraining Order and Preliminary Injunction, ECF No. 5, is DENIED WITHOUT PREJUDICE.

              This Court further Orders that Plaintiffs Motion for Permission to Proceed under

     Pseudonym, 1 ECF No. 3, is hereby GRANTED and Plaintiff shall file under seal, without need

     for redaction, a statement of the true names of John         e and Jane Roe.




                                                                                               -
This Order authorizing the filing of certain
materials under seal is provisional in that it
may be vacated or modified, in whole or in
part, at any time for good cause shown upon                     Mark R. Hornak
the motion of any party (or any other person
with a recognized interest as to such mat-                      United States District Judge
ters), or by the Court upon its own motion.
Isl Mark R. Hornak, U.S. District Judge



     cc: All counsel of record




     1
      Defendant asserted in Court on December 5, 2017, that Defendant was not opposed to this
     Motion.
